                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JOHN RUFFINO, et al.,                             )
                                                  )
     Plaintiffs,                                  )
                                                  )
v.                                                )          NO. 3:17-cv-00725
                                                  )
CLARK ARCHER                                      )          JUDGE CAMPBELL
                                                  )          MAGISTRATE JUDGE NEWBERN
     Defendant.                                   )


                                             ORDER

         Pending before the Court are motions in limine filed by the parties (Doc. Nos. 115, 116,

 117, 118, 119, 120, 121, 122, 123). After the motions were filed and at Plaintiffs’ request, the

 Court continued the trial to January 7, 2020. (Doc. No. 124). The Court also reset the deadline for

 filing pretrial motions, including motions in limine. (Id.) Accordingly, the pending motions in

 limine are DENIED, without prejudice to refiling by the new deadline.

         It is so ORDERED.

                                                      ____________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      UNITED STATES DISTRICT JUDGE




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